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            EXHIBIT 19
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                                                                    Page 1

   1
   2                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
   3                                 ALEXANDRIA DIVISION
   4              _____________________
   5              UNITED STATES,              )1:23-cv-00108-LMB-JFA
                  et al.,                     )
   6                                          )
                      Plaintiffs,             )
   7                                          )
                  vs.                         )
   8                                          )
                  GOOGLE LLC,                 )
   9                                          )
                      Defendant.              )
  10              _____________________)
  11
  12
  13
  14                          VIDEOTAPED DEPOSITION OF
  15                                      LARA STOTT
  16                               September 18, 2023
  17                                       9:33 a.m.
  18
  19
  20
  21              Reported by:     Bonnie L. Russo
  22              Job No. 6097869

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                                                       Page 2                                                     Page 4
       1    Videotaped Deposition of Lara Stott held at:         1   APPEARANCES (CONTINUED):
       2                                                         2
       3                                                         3   Also Present:
       4                                                         4   Captain Michael Ellis, Deputy Staff Advocate,
       5                                                         5   Air Force Recruiting
       6      Paul Weiss Rifkind Wharton & Garrison, LLP         6   Lieutenant Grant Wahlquist, Air Force
       7      2001 K Street, N.W.                                7   Commercial Law, Field Support Center
       8      Washington, D.C.                                   8   Orson Braithwaite, Videographer
       9                                                         9
      10                                                        10   Also Present Via Remotely:
      11                                                        11   Katherine Clemons, DOJ
      12                                                        12
      13                                                        13
      14                                                        14
      15                                                        15
      16                                                        16
      17                                                        17
      18    Pursuant to Notice, when were present on behalf     18
      19    of the respective parties:                          19
      20                                                        20
      21                                                        21
      22                                                        22
                                                       Page 3                                                     Page 5
        1   APPEARANCES:                                         1             INDEX
        2                                                        2   EXAMINATION OF LARA STOTT                   PAGE
        3   On behalf of the Plaintiffs:                         3   BY MS. MILLIGAN                      9
        4    MARK H.M. SOSNOWSKY, ESQUIRE                        4
        5    RACHEL ZWOLINSKI, ESQUIRE                           5             EXHIBITS
        6    ALVIN CHU, ESQUIRE                                  6   Exhibit 118   LinkedIn Profile of    15
        7    UNITED STATES DEPARTMENT OF JUSTICE                 7            Lara Stott
        8    450 Fifth Street, N.W.                              8   Exhibit 119   E-Mail Chain          36
        9    Washington, D.C. 20530                              9            dated 9-14-22
       10    mark.sosnowsky@usdoj.gov                           10            USAF-ADS-0000860595-602
       11    rachel.zwolinski@usdoj.gov                         11   Exhibit 120   Article entitled      37
       12    alvin.chu.liu@usdoj.gov                            12            "Recruiting is hard.
       13                                                       13            these YouTubers may have
       14   On behalf of the Defendant:                         14            cracked the code"
       15    HEATHER MILLIGAN, ESQUIRE                          15   Exhibit 121   E-Mail Chain          86
       16    MARTHA L. GOODMAN, ESQUIRE                         16            dated 6-14-22
       17    PAUL, WEISS, RIFKIND, WHARTON &                    17            Attachment
       18    GARRISON, LLP                                      18            USAF-ADS-0000861537-609
       19    2001 K Street, N.W.                                19   Exhibit 122   E-Mail Chain          122
       20    Washington, D.C. 20006                             20            dated 9-18-22
       21    hmilligan@paulweiss.com                            21            Attachment
       22    mgoodman@paulweiss.com                             22            USAF-ADS-0000001422-476

                                                                                                         2 (Pages 2 - 5)
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                                                     Page 6                                                                  Page 8
        1   EXHIBITS (CONTINUED):                              1             Counsel will now state their
        2                                                      2   appearances and affiliations for the record.
        3   Exhibit 123    E-Mail Chain    153                 3             MS. MILLIGAN: Heather Milligan with
        4             dated 9-19-22                            4   the law firm Paul, Weiss, Rifkind, Wharton &
        5             Attachment                               5   Garrison on behalf of Google LLC.
        6             USAF-ADS-0000418778-810                  6             MS. GOODMAN: Martha Goodman from
        7   Exhibit 124    E-Mail Chain    185                 7   Paul Weiss on behalf of Google.
        8             dated 12-16-22                           8             MR. SOSNOWSKY: Mark Sosnowsky with
        9             Attachment                               9   the Department of Justice on behalf of the
       10             USAF-ADS-0000785936-960                 10   United States and the air force.
       11   Exhibit 125    E-Mail Chain    216                11             MS. ZWOLINSKI: Rachel Zwolinski on
       12             dated 8-2-22                            12   behalf of the United States.
       13             Attachment                              13             MR. CHU: Alvin Chu on behalf of the
       14             USAF-ADS-0000005724-787                 14   United States.
       15                                                     15             CAPTAIN ELLIS: Captain Mike Ellis,
       16                                                     16   air force recruiting service.
       17                                                     17             LIEUTENANT WAHLQUIST: Lieutenant
       18                                                     18   Grant Wahlquist, air force, commercial law
       19                                                     19   field support center.
       20                                                     20             THE VIDEOGRAPHER: Thank you.
       21                                                     21             Will the court reporter please swear
       22   (Exhibits bound separately.)                      22   in the witness.
                                                     Page 7                                                                  Page 9
       1         PROCEEDINGS                                  1                 LARA STOTT,
       2           (9:33 a.m.)                                2    being first duly sworn, to tell the truth, the
       3                                                      3    whole truth and nothing but the truth,
       4             THE VIDEOGRAPHER: Good morning. 4             testified as follows:
       5           We are going on the record at 9:33        5        EXAMINATION BY COUNSEL FOR DEFENDANT
       6    a.m. on September 18, 2023.                      6              BY MS. MILLIGAN:
       7           Please note that the microphones are      7       Q.      Hi. Nice to meet you.
       8    sensitive and may pick up whispering and         8              Could you state your name for the
       9    private conversations. Please mute your phones   9     record.
      10    at this time. Audio and video recording will    10       A.      It's Lara Stott.
      11    continue to take place unless all parties agree 11       Q.      Okay. And the pronunciation is
      12    to go off the record.                           12     Stott?
      13           This is Media Unit 1 of the              13       A.      Yes.
      14    video-recorded deposition of Ms. Lara Stott in  14       Q.      Great. So my name is Heather
      15    the matter of United States, et al. versus      15     Milligan, and I'm with the law firm Paul Weiss,
      16    Google LLC filed in the United States District  16     and I represent Google.
      17    Court, Eastern District of Virginia, Alexandria 17              Have you ever been deposed before,
      18    Division, Case No. 1:23-cv-00108-LMB-JFA.       18     Ms. Stott?
      19           My name is Orson Braithwaite             19       A.      No.
      20    representing Veritext Legal Solutions, and I am 20       Q.      Okay. So just going to start with a
      21    the videographer. The court reporter is Bonnie  21     few rules.
      22    Russo from the firm Veritext Legal Solutions.   22              I'm going to try to break roughly

                                                                                                                    3 (Pages 6 - 9)
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                                                    Page 254                                                Page 256
       1            MS. MILLIGAN: This is prior to              1   concerns with."
       2    outreach by counsel, so --                          2          My primary function is to make sure
       3            MR. SOSNOWSKY: I understand that,           3   that we are executing an efficient marketing
       4    but I'm -- well, I can still instruct her just      4   plan in order to achieve an end recruiting
       5    because she has already asked several questions     5   mission. So insomuch as any vendor would be
       6    about the time line. Okay. She says when she        6   performing or not performing, that's really
       7    was with somebody that reached out --               7   what I am looking at.
       8            MS. MILLIGAN: Or you can just give          8          BY MS. MILLIGAN:
       9    the -- instruct -- just give the instruction to     9      Q. So you did not have specific
      10    the witness.                                       10   concerns as to Google?
      11            MR. SOSNOWSKY: Okay. So I'm going          11          MR. SOSNOWSKY: Objection to form.
      12    to instruct you not to reveal privileged           12          THE WITNESS: I don't recall any
      13    communications or information or activities        13   specific issues or challenges or concerns with
      14    that were done at the instruction of counsel       14   respect specifically to Google. But, again, it
      15    that came from counsel.                            15   would have been as a part of a broader
      16            THE WITNESS: Okay. Then, no, I             16   marketing program in order to meet an end
      17    can't answer that question.                        17   recruitment mission.
      18            BY MS. MILLIGAN:                           18          BY MS. MILLIGAN:
      19        Q. Okay. So your only knowledge of --          19      Q. And earlier you said that you were
      20    of the air force's involvement in this             20   not worrying about the lawsuit on a day-to-day
      21    litigation came from counsel or communications     21   basis.
      22    that were done at the direction of counsel?        22          Are you worrying about it at all?
                                                    Page 255                                                Page 257
        1   That's a yes-or-no question.                        1         MR. SOSNOWSKY: Objection to form.
        2         MR. SOSNOWSKY: Object to form.                2         THE WITNESS: Am I worrying about a
        3         But you can answer that yes or no.            3   lawsuit at all; is that what you're asking?
        4         THE WITNESS: Yes.                             4         BY MS. MILLIGAN:
        5         BY MS. MILLIGAN:                              5     Q. Yeah. Yes.
        6     Q. Prior to this lawsuit in your -- in            6         MR. SOSNOWSKY: Same objections.
        7   your role at the air force, were you aware of       7         THE WITNESS: No. Again, I have
        8   any anticompetitive conduct on the part of          8   such a long list of things to do that this is
        9   Google affecting U.S. Air Force's advertising?      9   not high on that priority list.
       10         MR. SOSNOWSKY: Objection to form.            10         BY MS. MILLIGAN:
       11   Foundation.                                        11     Q. Prior to this lawsuit -- sorry.
       12         THE WITNESS: No, I don't believe I           12   Strike that.
       13   was.                                               13         Where on the priority list is it?
       14         BY MS. MILLIGAN:                             14         MR. SOSNOWSKY: Objection to form.
       15     Q. Prior to this lawsuit, did you have           15         THE WITNESS: Well down below all of
       16   any concerns that Google was engaging in           16   those other things that get us to meeting
       17   anticompetitive conduct related to digital         17   mission requirements and any other special
       18   advertising?                                       18   projects that I get assigned to in order to
       19         MR. SOSNOWSKY: Objection to form.            19   make things at air force recruitment service
       20   Foundation.                                        20   marketing work better.
       21         THE WITNESS: Again, I just -- I              21         BY MS. MILLIGAN:
       22   want to be clear when you use words like "have     22     Q. And earlier we mentioned

                                                                                            65 (Pages 254 - 257)
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                                                   Page 266                                                       Page 268
       1         THE VIDEOGRAPHER: The time is 4:42            1 Mark Sosnowsky, Esq.
       2   p.m. We are off the record.                         2 mark.sosnowsky@usdoj.gov
                                                               3                  September 19, 2023
       3         (Whereupon, the proceeding was
                                                               4 RE: United States, Et Al v. Google, LLC
       4   concluded at 4:42 p.m.)
                                                               5     9/18/2023, Lara Stott (#6097869)
       5                                                       6     The above-referenced transcript is available for
       6                                                       7 review.
       7                                                       8     Within the applicable timeframe, the witness should
       8                                                       9 read the testimony to verify its accuracy. If there are
       9                                                      10 any changes, the witness should note those with the
                                                              11 reason, on the attached Errata Sheet.
      10
                                                              12     The witness should sign the Acknowledgment of
      11
                                                              13 Deponent and Errata and return to the deposing attorney.
      12                                                      14 Copies should be sent to all counsel, and to Veritext at
      13                                                      15 erratas-cs@veritext.com
      14                                                      16
      15                                                      17 Return completed errata within 30 days from
      16                                                      18 receipt of testimony.
      17                                                      19 If the witness fails to do so within the time
                                                              20 allotted, the transcript may be used as if signed.
      18
                                                              21
      19
                                                              22            Yours,
      20                                                      23            Veritext Legal Solutions
      21                                                      24
      22                                                      25
                                                   Page 267                                                       Page 269
       1          CERTIFICATE OF NOTARY PUBLIC                 1 United States, Et Al v. Google, LLC
       2         I, Bonnie L. Russo, the officer before        2 Lara Stott (#6097869)
                                                               3              ERRATA SHEET
       3   whom the foregoing deposition was taken, do
                                                               4 PAGE_____ LINE_____ CHANGE________________________
       4   hereby certify that the witness whose testimony
                                                               5 __________________________________________________
       5   appears in the foregoing deposition was duly        6 REASON____________________________________________
       6   sworn by me; that the testimony of said witness     7 PAGE_____ LINE_____ CHANGE________________________
       7   was taken by me in shorthand and thereafter         8 __________________________________________________
       8   reduced to computerized transcription under my      9 REASON____________________________________________
       9   direction; that said deposition is a true          10 PAGE_____ LINE_____ CHANGE________________________
                                                              11 __________________________________________________
      10   record of the testimony given by said witness;
                                                              12 REASON____________________________________________
      11   that I am neither counsel for, related to, nor
                                                              13 PAGE_____ LINE_____ CHANGE________________________
      12   employed by any of the parties to the action in
                                                              14 __________________________________________________
      13   which this deposition was taken; and further,      15 REASON____________________________________________
      14   that I am not a relative or employee of any        16 PAGE_____ LINE_____ CHANGE________________________
      15   attorney or counsel employed by the parties        17 __________________________________________________
      16   hereto, nor financially or otherwise interested    18 REASON____________________________________________

      17   in the outcome of the action.                      19 PAGE_____ LINE_____ CHANGE________________________
                                                              20 __________________________________________________
      18
                                                              21 REASON____________________________________________
      19          <%11937,Signature%>
                                                              22
      20          Notary Public in and for                    23 ________________________________ _______________
      21          the District of Columbia                    24 Lara Stott                Date
      22   My Commission expires: August 14, 2025.            25

                                                                                                   68 (Pages 266 - 269)
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